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                                    UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF VIRGINIA
                                        ALEXANDRIA DIVISION

        INTERSECTIONS INC. and                      .       Civil Action No. 1:09cv597
        NET ENFORCERS, INC.,                        .
                                                    .
                          Plaintiffs,               .
                                                    .
                vs.                                 .       Alexandria, Virginia
                                                    .       February 17, 2011
        JOSEPH C. LOOMIS and                        .       10:49 a.m.
        JENNI M. LOOMIS,                            .
                                                    .
                          Defendants.               .
                                                    .
        .   .   .     .    .    .   .   .   .   .   .

                                    TRANSCRIPT OF MOTIONS HEARING
                               BEFORE THE HONORABLE LEONIE M. BRINKEMA
                                     UNITED STATES DISTRICT JUDGE

        APPEARANCES:

        FOR THE PLAINTIFFS:                         MICHELLE J. DICKINSON, ESQ.
                                                    DLA Piper LLP (US)
                                                    6225 Smith Avenue
                                                    Baltimore, MD 21209

        FOR DEFENDANT JOSEPH C.                     TIMOTHY J. McEVOY, ESQ.
            LOOMIS:                                 Cameron McEvoy, PLLC
                                                    11325 Random Hills Road
                                                    Suite 200
                                                    Fairfax, VA 22030

        FOR DEFENDANT JENNI M.                      EUGENE W. POLICASTRI, ESQ.
            LOOMIS:                                 Bromberg Rosenthal LLP
                                                    401 N. Washington Street, Suite 500
                                                    Rockville, MD 20850

        OFFICIAL COURT REPORTER:                    ANNELIESE J. THOMSON, RDR, CRR
                                                    U.S. District Court, Fifth Floor
                                                    401 Courthouse Square
                                                    Alexandria, VA 22314
                                                    (703)299-8595

                                                (Pages 1 - 23)

                      COMPUTERIZED TRANSCRIPTION OF STENOGRAPHIC NOTES
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    1                             P R O C E E D I N G S

    2              THE CLERK:    Civil Action 09-597, Intersections Inc., et

    3   al. v. Loomis, et al.     Would counsel please note their appearances

    4   for the record.

    5              MR. McEVOY:    Good morning, Your Honor.      Tim McEvoy for

    6   Mr. Loomis.    I apologize for being about four minutes late.         I got

    7   stuck in traffic.

    8              THE COURT:    Well, you paid the price.      I was going to

    9   call your case first, but anyway, I'm glad you're here,

   10   Mr. McEvoy.

   11              MR. McEVOY:    Thank you.

   12              MR. POLICASTRI:     Good morning, Your Honor.      Gene

   13   Policastri on behalf of Jenni Loomis.        I was stuck in the same

   14   traffic.

   15              THE COURT:    And have you asked to withdraw from the

   16   case?

   17              MR. POLICASTRI:     I did.    I filed a motion yesterday.

   18              THE COURT:    All right, we'll get with that in a second.

   19              MR. POLICASTRI:     Thank you.

   20              MS. DICKINSON:     Good morning, Your Honor.      Michelle

   21   Dickinson for Intersections and Net Enforcers.

   22              THE COURT:    All right.     Now, this is before the Court on

   23   Joseph Loomis's motion seeking a scheduling conference prior to

   24   the scheduling of any motions, etc., and of course, that's what

   25   this is today.
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    1              MR. McEVOY:    Yes, Your Honor.

    2              THE COURT:    We're having that conference.

    3              Mr. McEvoy, you indicated in your motion which was filed

    4   on February 10 that you were expecting some clarification about

    5   the monetary situation within two weeks.

    6              MR. McEVOY:    Yes.

    7              THE COURT:    Have you any further --

    8              MR. McEVOY:    I am pleased to report actually that there

    9   is process.    Yesterday, Gerald Smith of, I believe the firm is

   10   Lewis and Roca, a very reputable firm in Phoenix, filed a motion

   11   to approve a settlement of a claim that was being brought for -- a

   12   preference claim against a third party in California.

   13              There's also filed a motion to expedite hearing on that

   14   matter, so therefore, I would expect -- and then payment is due

   15   within 48 hours under the settlement agreement if the bankruptcy

   16   court approves the settlement as I expect, and we've ask the court

   17   to approve at least some of those funds to be used to, to

   18   replenish the original trial retainer that we consumed in the year

   19   of litigation about the settlement agreement.

   20              So I believe in less than 15 days or in or about 15

   21   days, that issue will be resolved.       You know, I wish it were

   22   completely resolved today, but I think the representations in my

   23   paper were accurate.

   24              THE COURT:    Is the plaintiff Intersections Inc. the only

   25   debtor in that bankruptcy?
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    1                MR. McEVOY:   There is at least one other one, Your

    2   Honor, and I'll, I'll confess to not being -- I'm not a bankruptcy

    3   guy, so, I mean, you know, Mr. Smith, Gerald Smith is in charge of

    4   that.   I know there's at least one other creditor besides the

    5   plaintiff.

    6                THE COURT:    I'm sure Intersections knows.

    7                MS. DICKINSON:   Yes, Your Honor.    There are three or

    8   four additional creditors.      They're all related to this case.

    9   It's, I believe, the expert witness in the case, their expert

   10   witness or one of them, and then two of the law firms that

   11   represented Joe Loomis earlier on.       I think that's right.      But the

   12   total amount of claims, I think, are around 200,000.

   13                THE COURT:    Of the other claims?

   14                MS. DICKINSON:   That's right.    We're talking about

   15   nonsecured creditors, yes, Your Honor.

   16                THE COURT:    All right.

   17                MS. DICKINSON:   And, Your Honor, it's my understanding

   18   from bankruptcy counsel (coughing) -- pardon me, I'm going to do

   19   this all day -- from Baker --

   20                THE COURT:    You won't be here all day.

   21                MS. DICKINSON:   I'll be doing it all day by myself.

   22                It's our understanding that the motion likely will be

   23   granted within the next five days, and so they should have money

   24   imminently.

   25                THE COURT:    How much is involved in that?
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    1              MS. DICKINSON:     $500,000.

    2              Isn't that right?

    3              MR. McEVOY:    It's not my fee, Your Honor.

    4              THE COURT:    No, I understand that.      And how much of that

    5   is going to attorneys' fees?

    6              MR. McEVOY:    He's got another lawyer.      He's also

    7   pursuing other claims against third parties or will be doing so.

    8   We've asked for $100,000 to cover, you know, some intense

    9   proceedings here, so that's what's going on.

   10              THE COURT:    All right.    Now, let me have Intersections

   11   come back up.

   12              MS. DICKINSON:     And, Your Honor, my understanding is

   13   that what they've asked for is that -- correct me if I'm wrong --

   14   that the first 200 of that 500 go to, I guess, Mr. McEvoy or, or

   15   one of the attorneys who is going to be handling this case.           So

   16   they should be fully funded right away, within the next week is my

   17   understanding.

   18              THE COURT:    Why are you, why are you agreeing to having

   19   actual cash in hand being wasted on attorneys' fees?          You know, I

   20   mean, I understand that the plaintiff feels badly injured in this

   21   case, and your representations in the complaint are fairly strong.

   22   One thing I wanted to know is how much actual cash did the

   23   plaintiff pay the defendant?

   24              MS. DICKINSON:     $14 million, Your Honor.

   25              THE COURT:    Actual cash?
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    1              MS. DICKINSON:     Actual cash in hand.

    2              THE COURT:    And they've gotten none of that back?

    3              MS. DICKINSON:     Nothing.     Not a cent.

    4              Your Honor, I feel like I'm --

    5              THE COURT:    This case didn't go -- you didn't refer it

    6   to the FBI or any criminal prosecutors?        I mean, it sounds like a

    7   fraud the way you've pled it, a criminal fraud.

    8              MS. DICKINSON:     I believe it is a criminal fraud.       It's

    9   certainly something that we've discussed with the client.           It's

   10   not somewhere we have gone at this point.

   11              My understanding is that before we got into the case,

   12   there was some talk -- there were some conversations with the

   13   authorities that didn't go beyond that, but the more we look at

   14   this case, the more it looks like criminal fraud to us.

   15              But, Your Honor, I have to tell you that I feel a little

   16   uncomfortable standing up here talking with you about this right

   17   now without letting you know what's been going on in this case,

   18   what we found out within the last couple of days.         So --

   19              THE COURT:    Go ahead, let me hear.

   20              MS. DICKINSON:     May I?     What we learned is that Joe

   21   Loomis and some of the attorneys that he has hired in this case --

   22   and I'm not referring to Mr. McEvoy -- have been tampering with

   23   our witnesses, that they have violated the protective order which

   24   prohibited Joe Loomis from contacting our witnesses and employees,

   25   and that Emil Herich has violated the disqualification order and
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    1   has, in fact, been practicing in this case.

    2              We confirmed this within the last day by talking with

    3   one of our witnesses, who we had a terrible time going ahold of

    4   after the lift -- the stay was lifted.        We had been told by a

    5   witness that we did get ahold of that both he and another witness

    6   had flipped and were now in Joe's camp, which I found hard to

    7   believe because Joe isn't allowed to contact them.

    8              If you'll recall, the whole reason why we had a

    9   protective order issued was because Joe Loomis was harassing and

   10   intimidating our witnesses because he had -- sorry, my voice is

   11   going a little shaky.

   12              THE COURT:    All right.

   13              MS. DICKINSON:     He had threatened to have me put in jail

   14   if I went to Arizona to take depositions, so the Court issued the

   15   protective order and said that he could not contact witnesses or

   16   me, because he had contacted me directly, or any of our client's

   17   employees, and now what we found is that over the last six to

   18   eight months, he has been in direct contact with at least two of

   19   our witnesses, that one witness is, is testifying for him, that

   20   that witness was so afraid of him a year ago when we were

   21   preparing for trial that she had a protective order against him

   22   because he had threatened to kill her, and now she's in his camp

   23   is what I'm told.

   24              The other witness who I have had direct contact with on

   25   this issue, he entered into an indemnity agreement, a contract
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    1   with Joe Loomis where Joe Loomis agreed not to sue him and he

    2   agreed to indemnify him if we sued him for breaching his

    3   termination agreement, which has a cooperation clause in it

    4   related to litigation that was related to his employment.

    5                So we've been told and we have a declaration, in fact,

    6   that Joe Loomis has called him.       He's texted him.    Joe signed that

    7   agreement, and in fact, Emil Herich, who was disqualified by this

    8   Court, met with our witness, two of them at least on two

    9   occasions.    He told the one witness who signed the indemnification

   10   contract that he no longer needed to contact me or our client

   11   because he had that indemnity contract in place.

   12                So basically, Joe has his back.     If he gets sued, Joe's

   13   going to cover his damages and his attorneys' fees.          He had him

   14   sign two declarations, Emil Herich did, after he was disqualified,

   15   and if there's any question as to whether Emil Herich was

   16   practicing in this case, the captions on both of those

   17   declarations are this case caption.

   18                So, so I told you I felt a little uncomfortable talking

   19   with you about these issues in this case.        You know, we're

   20   preparing for trial, but to be honest with you, Your Honor, I

   21   don't know what else this camp needs to do in order for this Court

   22   to issue a default judgment.

   23                They've destroyed evidence -- not they, but their client

   24   has destroyed evidence in this case, destroyed three computers or

   25   the data on them, and that spoliation motion is pending before the
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    1   Court, and now we find out in the last couple of days that they're

    2   tampering with our witnesses.      We've lost one witness.      It's just

    3   abominable.

    4              THE COURT:    All right.    Some of this is coming before

    5   Judge Buchanan, correct?

    6              MS. DICKINSON:     The data destruction is, but we just got

    7   the declaration yesterday afternoon from the witness.

    8              THE COURT:    Do you have the declaration with you?

    9              MS. DICKINSON:     I do.

   10              THE COURT:    Let me take a look at it.

   11              Have you seen it yet, Mr. McEvoy?

   12              MR. McEVOY:    This, this -- I haven't seen what's -- I

   13   may or may not have seen what's been handed to me, and I feel

   14   like -- I feel pretty sort of sideswiped by the, you know, posture

   15   of the case, because nobody called me to say that this was going

   16   to come up today or discussed this with me.

   17              THE COURT:    All right.    Give me a second to read it,

   18   please.

   19              Now, let me ask you this:      When was the stay lifted in

   20   this case, for this case?

   21              MS. DICKINSON:     The stay was lifted, I have January 26.

   22              THE COURT:    January of 2011?

   23              MS. DICKINSON:     Yes, that's correct.

   24              THE COURT:    Doesn't the stay prohibit any activity

   25   concerning this litigation?
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     1              MR. McEVOY:    Well, by the, by the creditors, Your Honor,

     2   again, I'm not a bankruptcy guy, but my understanding --

     3              THE COURT:    By any attorney who's involved in the case

     4   as well, right?    Isn't LaVelle, isn't he still of counsel in the

     5   bankruptcy proceeding?

     6              MR. McEVOY:    You mean Mr. -- well, there's Mr. Herich.

     7   Mr. Herich is counsel in the bankruptcy proceeding, and he's -- I

     8   mean, there are a number of things I'd like to address.          I

     9   just sort of --

    10              THE COURT:    Well, all right.     What's LaVelle's

    11   relationship to Herich?

    12              MS. DICKINSON:    Do you know?

    13              MR. McEVOY:    I don't know.     I really don't know the

    14   whole, what the details are concerning this Mr. Matt LaVelle, and

    15   again, you know, this is the first time I've seen this

    16   declaration.

    17              MS. DICKINSON:    May I?

    18              MR. McEVOY:    Sure.

    19              MS. DICKINSON:    Your Honor, we checked the bankruptcy

    20   records.   The LaVelle firm is not identified in the bankruptcy

    21   court, they're not identified in this case, so we're not sure

    22   where they came from.

    23              Mr. Leberer, who signed the declaration, told us that

    24   they've represented themselves as sort of discovery counsel, that

    25   they were a neutral party in all of this, but I've never heard of
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     1   them before.    It's a father and son.     That's all I know.

     2              MR. McEVOY:    Well, here's what I'd like to say, Your

     3   Honor, if I may, or if the Court wants to review this in further

     4   detail first.    I mean, we've heard a lot of accusations, and I

     5   know -- I certainly know a lot about the background of the case,

     6   so I'd like to speak to that, but, I mean, I guess this points out

     7   the necessity of having a conference like this, because this is an

     8   unusual case.

     9              It came to me in January of 2010, as I recall.         In fact,

    10   it was after the settlement conference in this case.         I know the

    11   attorneys who had been local counsel for Mr. Loomis, and they told

    12   me they had a conflict of interest, needed to withdraw, would I

    13   consider getting in, time was of the essence.        So, you know, I

    14   know these guys.    I consider them good guys and, and at least

    15   social, loose social acquaintances within the Bar, so I agreed to

    16   get in.

    17              So I got in, and now I'm in, and obviously, there was

    18   a --

    19              THE COURT:    And you're stuck.

    20              MR. McEVOY:    There was a deep history of this -- in this

    21   case before I got in.     I don't -- I do take great issue -- there's

    22   been a -- let me address the -- there are several issues related

    23   to spoliation.    Then there's an issue with respect to Mr. Herich.

    24              THE COURT:    Actually, I'm not going to hear any of that.

    25   Here's my concern:    This case went to a final pretrial on December
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     1   17 of 2009.   We set a trial date at that time for March 1, 2010.

     2   All the discovery was over, this case was ready to go to trial,

     3   and then in January, serious settlement negotiations began.

     4              There is no question that the plaintiff thought it had

     5   an agreement, and frankly, but for the fact that I have a

     6   philosophical approach to settlements, for which there is case law

     7   that supports that approach and that's why we entered the opinion

     8   that we did, and I know you've quoted me as saying there clearly

     9   was not an agreement, I mean, I stand by that, but I also

    10   recognize that another judge with a different philosophy as to

    11   what is or is not a binding settlement could have gone the other

    12   way.

    13              The reality of it is your client at very least had

    14   attended a settlement conference and given every initial

    15   indication that it was resolved.      Then things happened, and I

    16   accepted the position that it was not a binding settlement

    17   agreement that could be enforced.

    18              However, I am very concerned about the history of this

    19   case before you ever got involved in it, and as much respect as I

    20   have for you as an attorney, I've known you a long time, and I've

    21   never seen you ever do anything that was even close to the line in

    22   terms of ethics, this case has about it a very significant odor,

    23   going back to original counsel from I think it's Arizona with whom

    24   Judge Buchanan had terrible times.

    25              MR. McEVOY:    Yes.
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     1                THE COURT:   This case is fraught with attorneys in and

     2   out of the case and attorney conduct that would never be

     3   countenanced in this Court.

     4                The case needs to get resolved one way or the other

     5   dispositively.    Leaving it out there isn't helping.       Witnesses may

     6   or may not be getting tampered with.       Evidence may or may not be

     7   spoliated.    Lawyers may be running around doing strange things.

     8   So I am setting a very early trial date.       It's push or cut bait --

     9   fish or cut bait.

    10                The plaintiff says they're ready to go to trial?

    11                MS. DICKINSON:   Your Honor, we are.    Unfortunately, we

    12   have a few scheduling conflicts, but we do have a two-week period,

    13   I'm sorry, April 11.

    14                THE COURT:   April is impossible for this Court unless

    15   something changes, and I won't know about that for a while.          I'm

    16   thinking of a March -- well, hold on a second.

    17                MS. DICKINSON:   We have a March 18 spoliation motion

    18   hearing.

    19                THE COURT:   Well, you need to move it up.

    20                MS. DICKINSON:   Okay.

    21                THE COURT:   All right?   I'm thinking about trying this

    22   case -- how many days do you think it's going to take to try the

    23   case?

    24                MS. DICKINSON:   We need five, Your Honor.

    25                THE COURT:   That's -- I do patent cases in five days.
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     1   Why do you think you need so much time?       I mean --

     2              MS. DICKINSON:    We have 15 witnesses.      It's a, it's a

     3   securities fraud case, Your Honor.       You know, it's funny because I

     4   was listening to the counsel who were up here before us, and I was

     5   thinking those are the cases that we usually handle, and then it

     6   occurred to me, well, that is the kind of case that we have.          It

     7   is a professional case with legitimate claims, but there's a

     8   circus atmosphere around this case.

     9              THE COURT:    Well, but look, I mean, your client bought a

    10   business based upon certain representations.        Now, I don't know

    11   how good your client's due diligence was.        I would assume they did

    12   more than just accept Mr. Loomis's representations.

    13              MS. DICKINSON:    Absolutely.

    14              THE COURT:    But, I mean, you know, here was the deal:

    15   We spent this much money based on these representations, and then

    16   we found out that, in fact, the representations were false.

    17   That's not complicated.     That's not complicated.       Don't make it

    18   complicated for the jury.     You've got to keep it simple.

    19              MS. DICKINSON:    Okay.   But the story doesn't end there,

    20   Your Honor.   The -- we have claims for breach of the stock

    21   purchase agreement thereafter, where Joseph Loomis and his sister

    22   were double-billing clients, where he was working for another

    23   company while he was supposed to be working for us, where he had

    24   our, our employees working for that other company when they were

    25   supposed to work for us.
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     1                THE COURT:    That's not complicated testimony.     It may,

     2   it may require a bunch of witnesses.       We can run ten witnesses a

     3   day in this court.

     4                MS. DICKINSON:   Okay.

     5                THE COURT:    I mean, the number of witnesses is not what

     6   impresses me.

     7                Can you be ready Tuesday, March 15?

     8                MS. DICKINSON:   We'll make it work, Your Honor.

     9                THE COURT:    All right.   Mr. McEvoy, are you available

    10   that week?

    11                MR. McEVOY:   Your Honor, the only thing that -- it looks

    12   like I could be available that week, Your Honor.         The only thing I

    13   would say is that there is a serious spoliation motion out there

    14   that I need to respond to whether it's moved up or not.          There

    15   would be a right to note exceptions to it, which it's not -- as

    16   you heard from counsel and I haven't had a chance to rebut all

    17   that, look, there were things that were done before I got involved

    18   in the case especially with Arizona counsel that never should have

    19   happened, and I believe in the bottom of my heart that if I had

    20   been involved from the beginning, they never would have happened,

    21   but they did, and so that's what we're dealing with now.

    22                They are serious, but there are answers, legitimate

    23   answers to some of what's, what's been alleged.         Nobody can deny

    24   that there was this, frankly, hair-brained threat to -- by counsel

    25   to have my colleague here arrested if she went to Arizona over a
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     1   property dispute.    That was ridiculous.

     2               So there is fall-out from that, but there are other

     3   issues to which there are legitimate answers, and whatever Judge

     4   Buchanan does, there are likely to be exceptions noted, so we have

     5   that briefing.    There are legitimate grounds for -- and it's still

     6   work product at this point, but for one or more counts to go out

     7   on summary judgment of the plaintiff's claims as a matter of law.

     8   So there's that issue.

     9               I had proposed -- and all that briefing and all that

    10   prep for me, Your Honor, who came in literally after all this

    11   stuff was done, I had no institutional knowledge of the case, I

    12   hope the Court appreciates through my many appearances in this

    13   court that I try to be judicious with fees, with funds.          I've

    14   tried very hard not to squander money on work that didn't need to

    15   be done until I knew what the bankruptcy court was going to do.

    16               I do have some start-up time that I'm in an

    17   extraordinary disadvantage vis-a-vis the other participants in the

    18   case just because of that and because I had to, I had to be

    19   careful to spend my money on the issues at hand rather than

    20   reading the 30-some or whatever it was deposition transcripts and

    21   so forth.   So that does put an extreme hardship on me, and, you

    22   know, I guess April is unavailable for the Court.

    23               I would with as much as I've ever asked for anything, if

    24   there's some time in May, at the beginning of May, anytime in May,

    25   I'll make it happen, but I do feel that there's legitimate
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     1   briefing that's going to happen, and in light of, look, what

     2   counsel represents, you know, there could be, there could be,

     3   there could be critical issues that are just dealt with on the

     4   papers by the Court, and that needs to have serious -- there needs

     5   to be time for serious consideration, serious briefing, without

     6   the pressure on my side anyway of having to interview many, many,

     7   many witnesses and undertake those types of efforts under that

     8   time pressure.

     9              THE COURT:    All right, I am looking at my calendar, and

    10   I realize that that date I just mentioned in March is going to

    11   bump into something.     What about Monday, May 2?

    12              MR. McEVOY:    I'll make, I'll make whatever the Court --

    13   if I can get any date in May, I'll make it happen.

    14              THE COURT:    Counsel?   Because you're right, the

    15   motion -- some of these preliminary motions especially for

    16   sanctions may totally change the posture of this case, and I don't

    17   know what sanctions, if any, Judge Buchanan might impose, and they

    18   can be as strict as -- is it under Rule 37?        What's your legal

    19   basis?

    20              MR. McEVOY:    I believe they've moved -- they've asked

    21   for what amounts to a default judgment.

    22              THE COURT:    Yeah.   So maybe we ought to let it go and

    23   then see what happens in that respect.

    24              MR. McEVOY:    And if it please the Court, actually what

    25   I, what I came in here, what I was speaking to Ms. Dickinson about
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     1   in the hall was I think it makes sense regardless of my position

     2   as an advocate if we do it at the beginning of May, because if we

     3   leave the sanctions motion where it is, my exceptions would be due

     4   at the beginning of April.     They're going to respond to that.

     5   Then this Court presumably will adjudicate whatever Judge Buchanan

     6   decides, and at the same time, we could do any motions for summary

     7   judgment and --

     8               THE COURT:    I want the sanctions issue pushed up, all

     9   right?   You-all get together with Judge Buchanan's chambers and

    10   let her know that I wanted that issue teed up and resolved

    11   earlier, because --

    12               MS. DICKINSON:   The sanctions issues?

    13               THE COURT:    All sanctions motions.    Let's get them done

    14   quickly.

    15               Now, I still have pending before me the appeal of the

    16   decision to --

    17               MR. McEVOY:   Mr. Herich.

    18               THE COURT:    Herich, yeah.   And I want to get that

    19   resolved.   It's been briefed, as I recall.       We just didn't address

    20   it because we thought it was moot because you-all had represented

    21   that the case had settled.

    22               What we're going to do on that is if there's any

    23   additional evidence that the plaintiff has as to Herich's behavior

    24   in this case, to give you a chance to bring that to our attention.

    25   That needs to be filed within a week of today, and I'll give you,
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     1   Mr. McEvoy, one week to respond.      If nothing new comes in, then

     2   I'm just going to go ahead seven days from now and start looking

     3   at that motion.

     4              MR. McEVOY:    And just so the Court understands,

     5   Mr. Herich is approved counsel, bankruptcy counsel for Mr. Loomis

     6   in Arizona.   My understanding is that the, that the ethical

     7   rules -- and counsel tried to get him unemployed, if you will,

     8   through the bankruptcy procedures and brought to the bankruptcy

     9   court's attention that he had been disqualified in this court.

    10   The bankruptcy court under the standards that prevail out there

    11   said, "No, you can stay in."

    12              THE COURT:    Well, I'll tell you this:      If Judge Buchanan

    13   and/or I from the evidence we've now seen draw the inference that

    14   Herich has been working in any respect on this case in what I

    15   think would be a violation of Judge Buchanan's order, he's out,

    16   and he may very well have earned a complaint to the Arizona Bar,

    17   which I wouldn't do but counsel would certainly be free to do

    18   that, but I don't know what the evidence is yet sufficiently to be

    19   able to resolve that, but that's just a signal.         I'm letting you

    20   know right now.

    21              MR. McEVOY:    Okay.

    22              THE COURT:    All right?   All right.    So we've set this

    23   case then for trial by jury Monday, May 2, at ten.

    24              MS. DICKINSON:    I'm sorry, Your Honor, I didn't get a

    25   chance to address that.
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     1              THE COURT:    Does that not work for you?

     2              MS. DICKINSON:       Unfortunately, it doesn't.   So the --

     3              THE COURT:    What does work that week?

     4              MS. DICKINSON:       The lead counsel on this trial is

     5   getting married April 29 and will be in Europe the month of May.

     6              THE COURT:    Well, can you get another attorney?

     7              MS. DICKINSON:       Me.

     8              THE COURT:    I mean, you know this case.      You've been

     9   here.

    10              MS. DICKINSON:       Absolutely.

    11              THE COURT:    Can't you try the case?

    12              MS. DICKINSON:       Yep.

    13              THE COURT:    Yes?

    14              MS. DICKINSON:       Yes.

    15              THE COURT:    All right, May 2 at 10:00.

    16              I'm going to advise Judge Buchanan that I want the

    17   sanctions issue heard as soon as possible and that I've given

    18   you-all that -- the schedule, all right?

    19              MR. McEVOY:    Yes.     And, Your Honor, I haven't filed an

    20   opposition.   My opposition was due March, I believe it was 4th, so

    21   I just -- I am going to need some time -- you know, these are

    22   substantial matters, and I'm going to need time to respond.

    23              THE COURT:    Well, you need to work that out, but I'm

    24   going to let her know to be looking for it.        I don't want you-all

    25   to have a lot of time.     This issue needs to get resolved one way
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     1   or the other, because if, in fact, the sanctions are -- there's a

     2   foundation for the sanctions and if she's recommending that the

     3   case be considered in default, that is, the defendant has just

     4   defaulted on the right to defend this case, we'll have to look at

     5   that carefully, but that would, of course, affect the trial

     6   significantly.

     7              MR. McEVOY:    Sure.

     8              THE COURT:    All right?

     9              MR. McEVOY:    Okay.

    10              THE COURT:    Anything further on this case?

    11              Oh, yes, we need to address the issue.

    12              MR. POLICASTRI:    You were going to address --

    13              THE COURT:    Yeah.    What -- has Ms. Loomis agreed to have

    14   you withdraw from the case?

    15              MR. POLICASTRI:    Yes.

    16              THE COURT:    Do you have that in writing?

    17              MR. POLICASTRI:    Yes.

    18              THE COURT:    Was that submitted with the motion?

    19              MR. POLICASTRI:    It was not, but I can send it as an

    20   attachment.   I wrote her a letter, asked me to sign it and send it

    21   to me.   She was away and sent me an e-mail that said, "Please

    22   accept this as my consent."

    23              THE COURT:    Are you sure it came from her?

    24              MR. POLICASTRI:    You know, I want to get away from the

    25   odor of this case as well.
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     1               THE COURT:   You want, you want a wet signature, all

     2   right?    E-mail is too easy for other people to have done.        Just to

     3   make sure that we're covered.

     4               I have no problem letting counsel out.       She needs to

     5   understand she'll then either have to retain new counsel who can

     6   appear here or she's going to proceed pro se, and you need to

     7   alert her, I mean, that's your ethical obligation, that if she

     8   doesn't respond to things, she can be held in default on those

     9   issues.

    10               MR. POLICASTRI:   Right.    I will do that.

    11               THE COURT:   Do you expect her to hire counsel?

    12               MR. POLICASTRI:   I expect her to appear pro se.

    13               THE COURT:   All right.

    14               MR. POLICASTRI:   She has indicated to me that she only

    15   has about $500 per month to devote to attorneys' fees.          I doubt an

    16   attorney is going to get involved at that level.

    17               THE COURT:   All right.

    18               MR. POLICASTRI:   I could be wrong, but I doubt it.

    19               THE COURT:   That's fine.    All right.

    20               Well, again, as soon as you provide the Court with

    21   something that has her actual signature on it, which I think is

    22   appropriate to be looking for in this case, and if you're

    23   comfortable that that's her signature, so get it to us as soon as

    24   you can, all right?

    25               MR. POLICASTRI:   I will.
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     1               THE COURT:   And -- yeah.

     2               MR. POLICASTRI:    The motions were deferred -- or

     3   referred to Magistrate Buchanan.

     4               THE COURT:   I'll let her know I took care of that for

     5   her.

     6               MR. POLICASTRI:    Thank you.

     7               THE COURT:   All right?   So the motion is at this point

     8   held in abeyance to await proof that the defendant has, in fact,

     9   agreed to your withdrawal, and once we get that, then I will give

    10   you leave to withdraw.

    11               MR. POLICASTRI:    Thank you very much, Your Honor.

    12               THE COURT:   All right, thank you.

    13               Anything further?    If not, we'll recess for the morning.

    14               MS. DICKINSON:    Nothing further, Your Honor.

    15               THE COURT:   All right.

    16                                 (Which were all the proceedings

    17                                  had at this time.)

    18

    19                         CERTIFICATE OF THE REPORTER

    20          I certify that the foregoing is a correct transcript of the

    21   record of proceedings in the above-entitled matter.

    22

    23

    24                                                  /s/
                                                 Anneliese J. Thomson
    25
